Filed 11/12/21                           Case 21-02024                      Doc 45



       1                              NOT FOR PUBLICATION

       2

       3                       UNITED STATES BANKRUPTCY COURT

       4                       EASTERN DISTRICT OF CALIFORNIA

       5

       6   In re:                                  Case No. 21-20167-A-13
       7   HARLAN PAGE CONFER, III and
           CHARLOTTE CLUFF CONFER,
       8

       9                   Debtors.
      10
           JACOB WATSON and JAMES WATSON,          Adv. No. 21-2024-A
      11
                           Plaintiffs,             BHS-2
      12
                 V.
      13
           HARLAN PAGE CONFER and CHARLOTTE
      14   CLUFF CONFER,
      15                   Defendants.
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      21                                      MEMORANDUM

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      1          To prevail in an action for fraud, 11 U.S.C. § 523(a)(2)(A), the

      2    plaintiffs must prove that the defendants made a representation that

      3    they knew to be false.       In re Britton, 950 F.2d 602, 604 (9th Cir.

      4    1991).   They must do so by a preponderance of the evidence. Grogan v.

      5    Garner, 498 U.S. 279, 284-285 (1991).

      6          In proving up a default judgment, the court may accept well-

      7    pleaded facts as true.       TeleVideo Systems, Inc. v. Heidenthal, 826 F2d

      8    915, 917 (9th Cir. 1987).      But it need not do so and may require

      9    additional evidence.    Quirindongo Pacheco v. Rolon Morales, 953 F.2d

     10    15, 16 (1st Cir. 1992).

     11          Here, the plaintiffs rely on but a single sentence: “In that

     12    conversation [November 2, 2021], Mr. Confer stated he never intended

     13    to go through with the sale of [295 San Joaquin Drive, Red Bluff,

     14    California] to my brother and I.”       Decl. J. Watson 3:5-7, ECF No. 41.

     15    Circumstantial evidence is not helpful.       As to Ms. Confer, the

     16    statement does not show fraud.       As to Mr. Confer, the court is

     17    unwilling to find fraud based on a single sentence in a declaration,

     18    which purports to summarize a defendant’s statement made 21 months

     19    after the events giving rise to this dispute.

     20          The plaintiff’s request for a default judgment will be denied

     21    without prejudice.

     22             November 12, 2021

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      1
                              Instructions to Clerk of Court
      2                             Service List - Not Part of Order/Judgment
      3    The Clerk of Court is instructed to send the Order/Judgment or other court generated
      4    document transmitted herewith to the parties below. The Clerk of Court will send the document
           via the BNC or, if checked ____, via the U.S. mail.
      5

      6    Attorney for the Plaintiff(s)                  Attorney for the Defendants(s) (if any)
      7
           Trustee David P. Cusick                        Office of the U.S. Trustee
      8    P.O. Box 1858                                  Robert T. Matsui United States Courthouse
           Sacramento, CA 95812-1858                      501 I Street, Room 7-500
      9                                                   Sacramento, CA 95814
     10    Harlan and Charlotte Confer
           295 San Joaquin Drive
     11    Red Bluff, CA 96080-2239

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